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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES,                         No. 2:04-cr-00357-MCE
12              Plaintiff,
13         v.                               ORDER REGARDING SENTENCING
                                            MEMORANDA
14   RICHIE MISHAL,
15             Defendants,
     ______________________ /
16
17         If any party wishes to file a sentencing memorandum in
18   advance of imposition of judgment and sentencing, said
19   memorandum shall be filed on or before 5:00 p.m., seven (7)
20   calendar days in advance of the date set for judgment and
21   sentencing.      Any response thereto shall be filed on or
22   before 3:00 p.m., (3) calendar days in advance of the date
23   set for judgment and sentencing.
24   ///
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1    The parties are cautioned that if any sentencing memoranda
2    is filed late, the judgment and sentencing date may be
3    vacated and the matter continued.
4        IT IS SO ORDERED.
5
     Dated: April 8, 2011
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7                                     _____________________________
8                                     MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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